
46 So. 3d 622 (2010)
Torrey BROWN, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-4791.
District Court of Appeal of Florida, First District.
October 13, 2010.
*623 Torrey Brown, pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition for writ of habeas corpus is denied. This disposition is without prejudice to petitioner's right to pursue his legal remedy in the pending appeal of Brown v. State, case number 1D10-4793.
PETITION DENIED.
WEBSTER, DAVIS, and VAN NORTWICK, JJ., concur.
